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     David J. Groesbeck
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 8   WSBA No. 24749
 9   David J. Groesbeck, P.S.
     1716 Sylvester St. SW
10
     Olympia, Washington 98501
11   Tel.: 509-747-2800
12
     Fax: 509-747-2828
     Email: david@groesbecklaw.com
13

14                IN THE UNITED STATES DISTRICT COURT
15
                FOR THE WESTERN DISTRICT OF WASHINGTON

16                                   AT SEATTLE
17


     PARLER LLC,
18

19                                                No. ______________________
20                         Plaintiff,
                 v.
21

22
     AMAZON WEB SERVICES, INC.,
23
                                               PLAINTIFF’S MOTION FOR
                                               TEMPORARY RESTRAINING
24                                             ORDER
                            Defendant
25
                                               NOTE ON MOTION CALENDAR
                                               January 10, 2021
26

27

28

29

30    PLAINTIFF’S MOTION FOR                                    David J. Groesbeck, P.S.
                                                                Attorney and Counselor
31    TEMPORARY RESTRAINING                                      1716 Sylvester St. SW
                                                              Olympia, Washington 98501
      ORDER - 1                                                     (509) 747-2800
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 1                                    INTRODUCTION

           Plaintiff Parler, LLC moves the Court for a temporary restraining order
 2

 3

 4   against Defendant Amazon Web Services, Inc (“AWS”). AWS is threatening to

 5
     suspend all services to Parler tonight at 11:59 PM PST—and thus shut Parler down
 6
     completely—with little more than a day’s notice. These actions not only breach the
 7

 8   parties’ contract memorialized in the AWS Customer Agreement (the “Agreement”)
 9
     but worse, threaten Parler with extinction right when the social media company
10

11   was experiencing explosive growth. The elements are met for Rule 65 relief.
12
           To prevent irreparable harm to the plaintiff, the Court should enter a
13

14   temporary restraining order enjoining the defendant from suspending Parler’s

     account with AWS or terminating the Agreement. A proposed form of order is
15

16

17   submitted to the Court in connection with this motion.

18
           This motion is supported by the memorandum of points and authorities
19
     submitted herein; and by the Verified Complaint and exhibits thereto. For the
20

21   reasons collectively presented to the Court, the motion should be granted.
22
                                     RELEVANT FACTS
23

24         1.       Parler restates and incorporates by reference each of the allegations
25
     set forth in the Complaint as if fully set forth herein.
26

27         2.       Last Month, Defendant Amazon Web Services (“AWS”) and the

     popular social media platform Twitter signed a multi-year deal so that AWS could
28

29

30     PLAINTIFF’S MOTION FOR                                            David J. Groesbeck, P.S.
                                                                         Attorney and Counselor
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 1   support the daily delivery of millions of tweets. AWS currently provides that same

     service to Parler, a conservative microblogging alternative and competitor to
 2

 3

 4   Twitter. (Compl. ¶ 1.)

 5
           3.        When Twitter announced two evenings ago that it was permanently
 6
     banning President Trump from its platform, conservative users began to flee
 7

 8   Twitter en masse for Parler. The exodus was so large that the next day, yesterday,
 9
     Parler became the number one free app downloaded from Apple’s App Store.
10

11   (Compl. ¶ 2.)
12
           4.        Yet last evening, AWS announced that it would suspend Parler’s
13

14   account effective Sunday, January 10th, at 11:59 PM PST. And it stated the reason

     for the suspension was that AWS was not confident Parler could properly police its
15

16

17   platform regarding content that encourages or incites violence against others.

18
     However, Friday night one of the top trending tweets on Twitter was “Hang Mike
19
     Pence.” But AWS has no plans nor has it made any threats to suspend Twitter’s
20

21   account. (Compl. ¶ 3.)
22
           5.        AWS’s decision to suspend Parler’s account is apparently motivated by
23

24   political animus. It is also apparently designed to reduce competition in the
25
     microblogging services market to the benefit of Twitter. (Compl. ¶ 4.)
26

27         6.        Thus, AWS is violating Section 1 of the Sherman Antitrust Act in

     combination with Twitter. AWS is also breaching its contract with Parler, which
28

29

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                                                                          Attorney and Counselor
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 1   requires AWS to provide Parler with a thirty-day notice before terminating service,

     rather than the less than thirty-hour notice AWS actually provided. Finally, AWS
 2

 3

 4   is committing intentional interference with prospective economic advantage given

 5
     the millions of users expected to sign up in the near future. (Compl. ¶ 5.)
 6
           7.       This emergency motion seeks a Temporary Restraining Order against
 7

 8   Defendant Amazon Web Services to prevent it from shutting down Parler’s account
 9
     at the end of today. Doing so is the equivalent of pulling the plug on a hospital
10

11   patient on life support. It will kill Parler’s business—at the very time it is set to
12
     skyrocket. (Compl. ¶ 6.)
13

14                              MEMORANDUM IN SUPPORT

           To succeed on a motion for a temporary restraining order, the moving party
15

16

17   must show: (1) a likelihood of success on the merits; (2) a likelihood of irreparable

18
     harm to the moving party in the absence of preliminary relief; (3) that a balance of
19
     equities tips in the favor of the moving party; and (4) that an injunction is in the
20

21   public interest. See Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
22
     The Ninth Circuit employs a “sliding scale” approach, according to which these
23

24   elements are balanced, “so that a stronger showing of one element may offset a
25
     weaker showing of another.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127,
26

27   1131 (9th Cir. 2011). Under the Winter test, a party merits relief when it raises

     serious questions going to the merits of its case and a balance of hardships that tips
28

29

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                                                                          Attorney and Counselor
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 1   sharply in its favor, provided it also makes a showing for the irreparable harm and

     public interest factors. Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131.
 2

 3

 4   (9th Cir. 2011).

 5
           The plaintiff meets all four elements.
 6
           1.       The plaintiff will suffer immediate, irreparable harm unless
                    the order issues.
 7

 8

 9
           To qualify for ex parte relief, Rule 65 requires a showing that “immediate and
10

11   irreparable injury, loss, or damage will result to the movant before the adverse
12
     party can be heard in opposition.” Fed.R.Civ.P. 65(b)(1)(A). AWS has clearly
13

14   indicated willingness to inflict such harm. First, and most obviously, because AWS

     has given Parler only a single day’s notice of its intent to suspend Parler’s account,
15

16

17   the threatened harm to Parler could hardly be more immediate.

18
           The threatened suspension will have the effect of rendering Parler, a social
19
     media service, entirely unable to function online, either on a web browser or an app
20

21   on a mobile phone. (Compl. ¶¶ 13, 20-21, 23.) That alone would inflict “[i]rreparable
22
     harm … for which there is no adequate legal remedy.” Arizona Dream Act Coalition
23

24   v. Brewer, 757 F. 3d 1053, 1068 (9th Cir. 2014). First, by booting Parler from its
25
     servers, AWS will entirely frustrate Parler’s mission to provide a privacy-focused
26

27   forum for free speech. (Compl. ¶¶ 10, 25.) Parler’s surging popularity in a crowded

     field of social and mainstream media shows that the company is satisfying an
28

29

30     PLAINTIFF’S MOTION FOR                                              David J. Groesbeck, P.S.
                                                                           Attorney and Counselor
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 1   otherwise unmet demand for such a forum. (Compl. ¶¶ 2, 10, 25.) By shutting Parler

     down, AWS eviscerates Parler’s whole corporate purpose and functionality, leaving
 2

 3

 4   Parler without a remedy.

 5
           Second, although Parler occupies a unique space in the market, it still
 6
     competes with other microblogging services like Twitter to facilitate real-time
 7

 8   discussions of breaking news and other contemporaneous events. (Compl. ¶¶ 1-2,
 9
     14, 17-19, 22, 24.) Losing all of its online capabilities will leave Parler entirely
10

11   unable to compete with the offerings of those direct competitors, eliminating its
12
     relevance as a forum for discussion and driving millions of users, out of necessity,
13

14   to those other platforms. (Compl. ¶ 24.) Because Parler’s business model is not

     based on subscription fees, there is no adequate monetary remedy to measure and
15

16

17   compensate for Parler’s imminent loss of users and user loyalty. (Compl. ¶ 14.)

18
     There is nothing speculative about the likelihood of harms Parler will suffer absent
19
     preliminary relief. AWS has been quite forthright in publicizing when Parler will
20

21   lose its account and, with it, Parler’s ability to function at all. (Compl. ¶¶ 13, 21-
22
     22.) To lose all functionality, even temporarily, will inflict irreparable damage on
23

24   Parler’s free-speech mission, reputation, and competitive position in a fluctuating
25
     market. Given Parler’s current dynamic growth, it would be too difficult to calculate
26

27   money damages for these harms. Hence, the absence of an adequate legal remedy

     necessitates preventative, injunctive relief.
28

29

30     PLAINTIFF’S MOTION FOR                                             David J. Groesbeck, P.S.
                                                                          Attorney and Counselor
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 1         2.       The threatened injury to the plaintiff far outweighs whatever
                    damage, if any, the proposed order or injunction may cause the
                    defendant.
 2

 3

 4
           The defendant will suffer little to no inconvenience by being ordered to
 5

 6   preserve the status quo. Indeed, when, after several rounds of productive

     discussions, AWS abruptly notified Parler that it would suspend the account, it
 7

 8

 9   made no mention of any harm that AWS itself might suffer by continuing to comply
10
     with its contractual obligations. By contrast, AWS’s intended actions signify an
11

12
     existential threat to Parler. Weighing the inconvenience to AWS by continuing to

13   host Parler against Parler’s imminent loss of all ability to function as an online
14
     service and consequent damage to its entire business and mission, the balance of
15

16   hardships tips sharply in favor of Parler. This element strongly favors the plaintiff.
17
           3.       The order would serve the public interest.
18

19         The public interest is served when service providers, whether they be online

     computing platforms or social media sites, fulfill their contractual obligations. The
20

21

22   public interest in fair and robust market competition is also served when companies

     are prevented from construing the same contractual obligations inconsistently
23

24

25
     when applied to different customers who are direct market competitors.

26   On the other hand, there is no public interest in allowing large, quasi-monopolies
27
     to coordinate in stifling smaller, disruptive innovators or to tortiously interfere with
28

29

30     PLAINTIFF’S MOTION FOR                                              David J. Groesbeck, P.S.
                                                                           Attorney and Counselor
31     TEMPORARY RESTRAINING                                                1716 Sylvester St. SW
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 1   another’s contracts and business expectations. The public interest element favors

     injunctive relief.
 2

 3

 4          4.       There is a substantial likelihood that the plaintiffs will succeed
                     on the merits of the underlying claims, or the case presents
 5
                     serious issues on the merits.
 6


            The plaintiffs have sued the defendants on three causes of action that form
 7

 8

 9   the basis for this injunctive relief motion: Sherman Act violation, breach of contract,
10
     and tortious interference with a contract or business expectancy. The plaintiffs are
11

12
     likely to succeed on each of these claims, or they present serious issues on the

13   merits.
14
                     a.    Sherman Act Violation.
15

16          To prove a violation of Section 1 of the Sherman Act, Parler must show: (1)
17
     the existence of a conspiracy, (2) intention on the part of the co-conspirators to
18

19   restrain trade, and (3) actual injury to competition.” Coalition For ICANN

     Transparency, Inc. v. VeriSign, Inc., 611 F.3d 495, 501-02 (9th Cir. 2010). As stated
20

21

22   in the Verified Complaint, AWS provides online hosting services to both Parler and

     Twitter, Parler’s direct competitor. The complaint further shows that, by shutting
23

24

25
     down Parler for content comparable to that found in abundance on Twitter, AWS

26   suppresses a smaller but surging microblogging company to the direct benefit of a
27
     larger one—a major customer of AWS—thereby reducing competition and severely
28

29

30     PLAINTIFF’S MOTION FOR                                             David J. Groesbeck, P.S.
                                                                          Attorney and Counselor
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 1   restraining commerce on pretextual grounds. Parler therefore has shown a

     substantial likelihood of succeeding on this claim, and certainly presents serious
 2

 3

 4   issues on the merits.

 5
                  b.     Breach of Contract
 6
           Under Washington law, a claimant establishes breach of contract where he
 7

 8   shows that “the contract imposes a duty, the duty is breached, and the breach
 9
     proximately causes damage to the claimant.” See Northwest Independent Forest
10

11   Mfrs. v. Dept. of Labor and Industries, 78 Wn. App. 707, 712, 899 P.2d 6 (1995).
12
     Plaintiff meets all of these elements.
13

14         As stated in the Verified Complaint, the Agreement allows either party to

     terminate the Agreement “for cause if the other party is in material breach of this
15

16

17   Agreement and the material breach remains uncured for a period of 30 days from

18
     receipts of notice by the other party.” (Compl., Ex. B.) AWS brought its concerns to
19
     Parler on January 8, 2021 and, after approving Parler’s curing of those concerns,
20

21   nevertheless notified Parler on January 9 that it would suspend Parler’s account on
22
     January 10. Although AWS used the term “suspension,” its language about
23

24   migrating Parler’s data to other servers revealed AWS’s intent to permanently
25
     terminate Parler’s account without the requisite 30-day curing period. (Compl. ¶¶
26

27   40-43.) Because AWS’s threatened breach will entirely disrupt Parler’s ability to

     function as an online microblogging service, and because even a temporary
28

29

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                                                                        Attorney and Counselor
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 1   disruption will hurt Parler’s mission, reputation, and competitive position in the

     microblogging market, Parler has shown both serious issues on the merits of this
 2

 3

 4   claim and a substantial likelihood of success.

 5
                    c.    Tortious Interference with a Contract or Business
 6                        Expectancy

              Finally, under Washington law Parler can establish tortious interference by
 7

 8

 9   showing “(1) the existence of a valid contractual relationship or business
10
     expectancy; (2) the defendant’s knowledge of that relationship; (3) an intentional
11

12
     interference inducing or causing a breach or termination of the relationship or

13   expectancy; (4) the defendant's interference for an improper purpose or by improper
14
     means; and (5) resulting damage.” Koch v. Mutual of Enumclaw Ins. Co., 108 Wn.
15

16   App. 500, 506, 31 P.3d 698 (2001). The Verified Complaint shows that AWS is well
17
     aware that: Parler has millions of users under contract, expects to add millions
18

19   more, and was about to go to the market to raise more capital. (Compl. ¶¶ 48-49.)

     Thus, when coupled with AWS’s anti-competitive motives, pretextual reasons, and
20

21

22   contractual breaches, Parler has demonstrated a substantial likelihood of success

     and serious issues on the merits.
23

24

25

26   ///
27
     ///
28

29

30         PLAINTIFF’S MOTION FOR                                        David J. Groesbeck, P.S.
                                                                         Attorney and Counselor
31         TEMPORARY RESTRAINING                                          1716 Sylvester St. SW
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 1                                   CONCLUSION

           For the foregoing reasons, the plaintiff requests that the Court grant it a
 2

 3

 4   temporary restraining order against the defendant as set forth herein. A proposed

 5
     form of Temporary Restraining Order is submitted herewith.
 6
           Dated: January 10, 2021
 7

 8                                   Respectfully submitted,
 9

10
                                     /s David J. Groesbeck
11                                   WSBA No. 24749
                                     DAVID J. GROESBECK, P.S.
12
                                     1716 Sylvester St. SW
13                                   Olympia, WA 98501
14
                                     (509) 747-2800
                                     david@groesbecklaw.com
15

16                                   621 W. Mallon Ave., Suite 507
                                     Spokane, WA 99201
17

18                                   Counsel for Plaintiff
19

20

21

22

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                                                                       Attorney and Counselor
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